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   10
         Plaintiffs’ Co-Lead Counsel
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   12
                             UNITED STATES DISTRICT COURT
   13
                           CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (SKx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
                                                  PLAINTIFFS’ NOTICE OF
   17   THIS DOCUMENT RELATES TO                  MOTION IN LIMINE NO. 3 TO
        ALL ACTIONS                               EXCLUDE IRRELEVANT AND
   18                                             PREJUDICIAL EVIDENCE UNDER
                                                  RULES 402 AND 403
   19
                                                  JUDGE: Hon. Philip S. Gutierrez
   20                                             DATE: February 7, 2024
                                                  TIME: 2:30 p.m.
   21                                             COURTROOM:
                                                   First Street Courthouse
   22                                              350 West 1st Street
                                                   Courtroom 6A
   23                                              Los Angeles, CA 90012
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    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2         PLEASE TAKE NOTE THAT on February 7, 2024 at 2:30 p.m., before the
    3   Honorable Philip S. Gutierrez, Chief United States District Judge, Courtroom 6A,
    4   United States Courthouse, 350 West 1st Street, Los Angeles, CA 90012, Plaintiffs
    5   will, and hereby do, move the Court for an order granting Plaintiffs’ Motion In Limine
    6   No. 3 to preclude the NFL Defendants from presenting or seeking to elicit any
    7   evidence or testimony or making any argument that: 1) refers to Sunday Ticket as a
    8   luxury good, unnecessary product, or other similar description; or 2) refers to the fact
    9   that DirecTV, CBS, and Fox are not appearing as defendants at the trial. This motion
   10   is based on this notice and supporting memorandum of points and authorities, and
   11   the other records, papers, and orders in this action, as well as such additional evidence
   12   and arguments as may be presented by the parties before or at the hearing.
   13         This motion is made following the conference of counsel pursuant to L.R. 7-3
   14   which took place on December 29, 2023.
   15

   16   Dated: January 5, 2024                  Respectfully submitted,
   17

   18                                           By: /s/ Marc M. Seltzer

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